Filed 12/21/18                                       Case 18-25524                                                   Doc 38
                                          United States Bankruptcy Court
                                         Eastern District of California
    In re:                                                                                 Case No. 18-25524-E
    Randy Gilbert Shreve                                                                   Chapter 7
    Carolyn Joyce Shreve
             Debtors
                                            CERTIFICATE OF NOTICE
    District/off: 0972-2          User: kwis                   Page 1 of 2                   Date Rcvd: Dec 19, 2018
                                  Form ID: L75                 Total Noticed: 39

    Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
    Dec 21, 2018.
    db/jdb         +Randy Gilbert Shreve,    Carolyn Joyce Shreve,    8591 Travary Way,    Antelope, CA 95843-5873
    aty            +Edward A. Treder,    20955 Pathfinder Road, Ste 300,    Diamond Bar, CA 91765-4029
    aty            +Kristin A. Zilberstein,    5120 E. La Palma Ave., Ste. 206,     Anaheim Hills, CA 92807-2091
    aty            +Scott J. Sagaria,    3017 Douglas Boulevard #200,    Roseville, CA 95661-3837
    cr             +NS172 LLC,    c/o Kristin Zilberstein,    1920 Old Tustin Ave,    Santa Ana, CA 92705-7811
    cr             +The Bank of New York Mellon,    BARRETT DAFFIN FRAPPIER TREDER & WEISS,
                     4004 Belt Line Rd Ste. 100,    Addison, TX 75001-4320
    22541033       +AmeriCredit GM Financial,    Attn Bankruptcy,    Po Box 183853,    Arlington TX 76096-3853
    22541032       +AmeriCredit GM Financial,    Po Box 181145,    Arlington TX 76096-1145
    22541034       +Atty Gen US Dept of Justice,    Civil Trial Sec Western Reg,     PO Box 683 Ben Franklin Stat,
                     Washington DC 20044-0683
    22541036      ++BANK OF AMERICA,    PO BOX 982238,    EL PASO TX 79998-2238
                   (address filed with court: Bank Of America,      Attn Bankruptcy,    Po Box 982238,
                     El Paso TX 79998)
    22541035       +Bank Of America,    4909 Savarese Cir,    Tampa FL 33634-2413
    22541039      ++FIRST HORIZON HOME LOANS,    6363 N STATE HWY 161,    SUITE 300,    IRVING TX 75038-2231
                   (address filed with court: First Horizon Home Loans,      4000 Horizon Way,    Irving TX 75063)
    22541047       +Mr Cooper,    8950 Cypress Waters Blvd,    Coppell TX 75019-4620
    22541048       +Mr Cooper,    Attn Bankruptcy,    8950 Cypress Waters Blvd,    Coppell TX 75019-4620
    22541049       +Pacific Serv,    3000 Clayton Rd,    Concord CA 94519-2731
    22541051       +RC Willey Home Furnishings,    2301 S 300 W,    Salt Lake City UT 84115-2516
    22541052       +RC Willey Home Furnishings,    Attn Bankruptcy Dept,    Po Box 410429,
                     Salt Lake City UT 84141-0429
    22541053       +Servicing Corporation,    323 5th St,    Eureka CA 95501-0305
    22541058       +US Attorney Chief Tax Division,     For the CA Franchise Tax Board,    450 Golden Gate Ave,
                     10th Floor Box 36055,    San Francisco CA 94102-3661
    22541059      ++US BANK,   PO BOX 5229,    CINCINNATI OH 45201-5229
                   (address filed with court: US Bank RMS CC,      4325 17th Ave S,    Fargo ND 58125)

    Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
    tr             +E-mail/Text: hspacone@thg-sac.com Dec 20 2018 03:51:49       Hank Spacone,    PO Box 255808,
                     Sacramento, CA 95865-5808
    smg             E-mail/Text: cio.bncmail@irs.gov Dec 20 2018 03:50:11       IRS,    PO Box 7346,
                     Philadelphia, PA 19101-7346
    cr             +E-mail/PDF: gecsedi@recoverycorp.com Dec 20 2018 03:49:06        Synchrony Bank,
                     c/o PRA Receivables Management, LLC,     PO Box 41021,   Norfolk, VA 23541-1021
    22541030       +E-mail/Text: ally@ebn.phinsolutions.com Dec 20 2018 03:49:44        Ally Financial,
                     2000 Town Ctr Ste 2200,    Southfield MI 48075-1157
    22541031       +E-mail/Text: ally@ebn.phinsolutions.com Dec 20 2018 03:49:44        Ally Financial,
                     Attn Bankruptcy Dept,    Po Box 380901,    Bloomington MN 55438-0901
    22623641       +E-mail/Text: bankruptcy@cavps.com Dec 20 2018 03:51:39       Cavalry SPV I, LLC,
                     500 Summit Lake Drive, Ste 400,    Valhalla, NY 10595-2321
    22541038       +E-mail/PDF: creditonebknotifications@resurgent.com Dec 20 2018 03:59:58        Credit One Bank,
                     Attn Bankruptcy,    Po Box 98873,   Las Vegas NV 89193-8873
    22541037       +E-mail/PDF: creditonebknotifications@resurgent.com Dec 20 2018 04:00:51        Credit One Bank,
                     Po Box 98872,    Las Vegas NV 89193-8872
    22541041        E-mail/Text: BKBNCNotices@ftb.ca.gov Dec 20 2018 03:52:32        Franchise Tax Board,
                     Bankruptcy Section MS A-340,    PO Box 2952,    Sacramento CA 95812-2952
    22541042       +E-mail/Text: collections@heritageccu.com Dec 20 2018 03:52:20        Heritage Community Cu,
                     Po Box 790,    Rancho Cordova CA 95741-0790
    22541043       +E-mail/Text: collections@heritageccu.com Dec 20 2018 03:52:20        Heritage Community Cu,
                     Attention Bankruptcy Department,    Po Box 790,    Rancho Cordova CA 95741-0790
    22541046       +E-mail/Text: ZyCredit.A.User@lesschwab.com Dec 20 2018 03:51:56        Les Schwab Tires,
                     Attn Bankruptcy Department,    Po Box 5350,    Bend OR 97708-5350
    22541045       +E-mail/Text: ZyCredit.A.User@lesschwab.com Dec 20 2018 03:51:56        Les Schwab Tires,
                     20900 Cooley Road,    Bend OR 97701-3406
    22623658        E-mail/Text: bknotices@pacificservice.org Dec 20 2018 03:51:11        PACIFIC SERVICE CREDIT UNION,
                     PO BOX 8191,    WALNUT CREEK, CA 94596-8191
    22541050       +E-mail/Text: bknotices@pacificservice.org Dec 20 2018 03:51:11        Pacific Serv,
                     Pacific Service Credit Union Attn Bank,     Po Box 8191,   Walnut Creek CA 94596-8191
    22541054       +E-mail/PDF: gecsedi@recoverycorp.com Dec 20 2018 03:49:07        Synchrony Bank Amazon,
                     Po Box 965015,    Orlando FL 32896-5015
    22541055       +E-mail/PDF: gecsedi@recoverycorp.com Dec 20 2018 03:48:50        Synchrony Bank Amazon,
                     Attn Bankruptcy Dept,    Po Box 965060,    Orlando FL 32896-5060
    22541057       +E-mail/PDF: gecsedi@recoverycorp.com Dec 20 2018 03:48:50        Synchrony Bank Chevron,
                     Attn Bankruptcy Dept,    Po Box 965060,    Orlando FL 32896-5060
    22541056       +E-mail/PDF: gecsedi@recoverycorp.com Dec 20 2018 03:49:06        Synchrony Bank Chevron,
                     Po Box 965015,    Orlando FL 32896-5015
                                                                                                   TOTAL: 19
Filed 12/21/18                                                  Case 18-25524                                                                     Doc 38



    District/off: 0972-2                  User: kwis                         Page 2 of 2                          Date Rcvd: Dec 19, 2018
                                          Form ID: L75                       Total Noticed: 39


                 ***** BYPASSED RECIPIENTS (continued) *****

                 ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
    22541040*       ++FIRST HORIZON HOME LOANS,   6363 N STATE HWY 161,   SUITE 300,    IRVING TX 75038-2231
                     (address filed with court: First Horizon Home Loans,     Attn Bankruptcy,   4000 Horizon Way,
                       Irving TX 75063)
    22541044*         Internal Revenue Service,   PO Box 7346,   Philadelphia PA 19101-7346
    22541060*       ++US BANK,   PO BOX 5229,   CINCINNATI OH 45201-5229
                     (address filed with court: US Bank RMS CC,    Attn Bankruptcy,    Po Box 5229,
                       Cincinnati OH 45201)
                                                                                                    TOTALS: 0, * 3, ## 0

    Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
    USPS regulations require that automation-compatible mail display the correct ZIP.

    Transmission times for electronic delivery are Eastern Time zone.

    Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
    pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


    I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
    shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
    Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
    Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
    by the bankruptcy rules and the Judiciary’s privacy policies.
    Date: Dec 21, 2018                                             Signature: /s/Joseph Speetjens

    _

                                          CM/ECF NOTICE OF ELECTRONIC FILING

    The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
    system on December 19, 2018 at the address(es) listed below:
    NONE.                                                                                       TOTAL: 0
Filed 12/21/18                                                      Case 18-25524                                                     Doc 38
        FORM L75 Notice of Transferred Case (v.1.15)                                                               18−25524 − E − 7
                     UNITED STATES BANKRUPTCY COURT
                          Eastern District of California
                              Robert T Matsui United States Courthouse
                                      501 I Street, Suite 3−200
                                       Sacramento, CA 95814

                                               (916) 930−4400
                                            www.caeb.uscourts.gov
                                            M−F 9:00 AM − 4:00 PM



                                                  NOTICE OF TRANSFERRED CASE

        Case Number:          18−25524−A−7
        Debtor Name(s), Social Security Number(s), and Address(es):


           Randy Gilbert Shreve                                           Carolyn Joyce Shreve
           8591 Travary Way                                               8591 Travary Way
           Antelope, CA 95843                                             Antelope, CA 95843




           NOTICE IS HEREBY GIVEN THAT:
           The above−entitled bankruptcy case has been transferred for all further proceedings to the Honorable Ronald H. Sargis,
           United States Bankruptcy Judge, Department E, Sacramento Division. Please include the following case number on all
           documents filed subsequently in this case:
            Case Number:        18−25524 − E − 7

        Dated:                                                          For the Court,
        12/19/18                                                        Wayne Blackwelder , Clerk
